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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                               CR. NO. 23-20521
                   Plaintiff,
v.                                             HON. MARK A. GOLDSMITH

HARRIS JAMES MAYS,

                   Defendant.
                                       /

           MOTION TO AMEND/MODIFY BOND CONDITIONS

      Defendant, Harris Mays, through counsel Andrew Densemo, of the Federal

Community Defender Office asks that this Honorable Court modify some of the

conditions of his pre-trial release, pursuant to 18 U.S.C. 3145(a)(2). In support of

his motion, he states the following:

      1.     Mr. Mays was initially charged in a two count complaint with Felon

in Possession of a Firearm and Ammunition.

      2.     A detention hearing was scheduled for April 6, 2023. As the hearing

began the government indicated it wanted to combine the detention hearing with

the preliminary examination. It was permitted to do so. The government called

Agent Brady Reese to testify to establish probable cause.




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      3.       At the conclusion of Agent’s Reese’s testimony, defense counsel

argued that the government had not established the elements necessary to a finding

of probable cause.

      4.       The government stated that it had forgotten to have its witness testify

to a necessary element. It asked the Court for permission to recall the witness so

that it could elicit testimony on the contested issues.

      5.       The Court ordered a continuance of the preliminary examination due to

the government’s unexpected request to combine the examination with the detention

hearing and for the parties to more fully prepare for the issues raised during the

hearing. Mr. Mays was ordered detained pending the preliminary examination.

      6.       On April 13, 2023, the continued preliminary examination was

conducted.

      7.       At the conclusion of Agent Reese’s testimony, the government

withdrew its request to find probable cause as to any firearms. The government

indicated that it was proceeding only as to the felon in possession of ammunition

allegations.

      8.       The Court dismissed the complaint for lack of probable cause. The

Court’s Order dismissing the complaint was entered on April 13, 2023.




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      9.     Mr. Harris was discharged from custody as a result of the dismissal of

the complaint. He remained at liberty for five months until the filing of the

indictment on September 13, 2023.

      10.    After the complaint had been dismissed, defense counsel asked the

U.S. Attorney for notification if an indictment was obtained against Mr. Mays so

that he could voluntarily appear at the arraignment. The government’s attorney

agreed to do so.

      11.    After five months, as he indicated he would do, government counsel

notified defense counsel that Mr. Mays had been indicted. The parties agreed upon

a date and time for Mr. Mays to voluntarily appear at the arraignment and to turn

himself in to be re-processed (fingerprints and photo ID) by the U.S. Marshals.

      12.    Mr. Mays arrived as scheduled at the Marshals’ office and was

processed on the new indictment, which contained the single charged of possession

of ammunition.

      13.    During the period between the dismissal of the complaint and the filing

of the indictment, Mr. Mays remained in the state of Michigan. He contacted defense

counsel monthly to determine if there were any new developments he should be

aware of.




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      14.    Mr. Mays enrolled in vocational training, obtain verifiable employment,

maintained an established residence and was not involved in any conduct that

resulted in police contact of any kind.

      15.    Despite all this, following his arraignment, Mr. Mays was placed on

overly restrictive bonds conditions which confined him to his home and required him

to wear a GPS monitor.

      16.    Mr. Mays has had every opportunity over the past eight months to flee

to avoid prosecution and he did not. He had every opportunity to engage in criminal

conduct and he did not. He has engaged in nothing but productive activities since the

original complaint was dismissed.

      17.    Mr. Mays was given the opportunity to prove that restrictive conditions

aren’t needed to ensure his appearance in court or the safety of the community. He

made the most of that opportunity by virtue of the conduct he has exemplified over

the past eight months.

      18.    Mr. Mays’ Pretrial Services Officer, who has had the opportunity to

observe his conduct over the past eight months, is recommending that his bond

conditions be modified to terminate home confinement and to substitute a curfew.

      19.    We ask this Honorable Court to amend/modify the conditions of Mr.

Mays’ bond and remove the home confinement and GPS monitoring requirements.

Mr. Mays has proven that these conditions aren’t necessary. If any restrictive


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condition is imposed, we asked that it be a reasonable curfew, which will allow him

to further his education and maintain his employment.

       20.    The defense sought concurrence in its motion, which was denied by the

counsel for the Plaintiff.

       WHEREFORE, Mr. Mays prays that this Honorable Court will grant his

motion to amend/modify his bond conditions.

                                       Respectfully submitted,

                                       FEDERAL COMMUNITY DEFENDER
                                       EASTERN DISTRICT OF MICHIGAN


                                       s/Andrew Densemo
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Dated: April 29, 2024




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                               CR. NO. 23-20521
                   Plaintiff,
v.                                             HON. MARK A. GOLDSMITH

HARRIS JAMES MAYS,

                   Defendant.
                                      /

     BRIEF IN SUPPORT OF MOTION TO AMEND/MODIFY BOND
                         CONDITIONS


                                LEGAL STANDARD

      “In our society, liberty is the norm, and detention prior to trial or without trial

is the carefully limited exception.” United States v. Salerno, 481 U.S. 739, 755

(1987). The Bail Reform Act (“BRA”) establishes when to deviate from that norm:

only when no “condition or combination of conditions . . . will reasonably assure the

appearance of [the accused] as required and the safety of any other person and the

community.” 18 U.S.C. § 3142(f). Except when the defendant is charged with a

handful of offenses, the government bears the burden to show by a preponderance

of the evidence that there is a risk the person will flee or, by clear and convincing

evidence, that he is a danger to other people or the community and no condition or




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combination of conditions will adequately protect them. Id. § 3142(e); United States

v. Hinton, 113 F. App’x 76, 77 (6th Cir. 2004).

      Even when the BRA instructs courts to presume that no combination of

conditions will reasonably assure the person’s appearance or the safety of the

community, the burden of production to rebut the presumption is not heavy. Mr.

Mays is not even charged with an offense that carries this presumption. 18 U.S.C. §

3142(e)(3)(A). Even if he had been, he needs only to produce “some evidence that

he will not flee or endanger the community if released.” United States v. Dominguez,

783 F.2d 702, 707 (7th Cir. 1986). This “burden of production is not a heavy one.”

Id. Indeed, the presumption of detention is rebutted by “[a]ny evidence favorable to

a defendant that comes within a category listed in § 3142(g) . . . including evidence

of their marital, family and employment status, ties to and role in the community . .

. and other types of evidence encompassed in § 3142(g)(2).” Id. (emphasis added).

Any “evidence of economic and social stability” can rebut the presumption. Id. As

long as a defendant “come[s] forward with some evidence” pursuant to § 3142(g),

the presumption of flight risk and dangerousness is definitively rebutted. Id. (“Once

this burden of production is met, the presumption is ‘rebutted.’”) (quoting United

States v. Jessup, 757 F.2d 378, 384 (1st Cir. 1985)). The government bears the

burden of persuasion at all times. Id.; Jessup, 757 F.2d at 384.




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      After the presumption is rebutted, the Court must weigh the presumption

against the other evidence about the defendant’s history and characteristics that tilts

the scale in favor of release. See Dominguez, 783 F.2d at 707 (“[T]he rebutted

presumption is not erased. Instead it remains in the case as an evidentiary finding

militating against release, to be weighed along with other evidence relevant to

factors listed in § 3142(g).”).

      The factors that Congress has determined to be relevant include: (1) the nature

and circumstances of the offense charged; (2) the weight of the evidence against the

person; (3) the history and characteristics of the person; and (4) the nature and

seriousness of the danger posed by the person’s release. § 3142(g). Relevant personal

characteristics of the accused include: “physical and mental condition, family ties,

employment, financial resources, length of residence in the community, community

ties, past conduct, history relating to drug or alcohol abuse, criminal history, and

record concerning appearance at court proceedings,” and whether the person was on

court-ordered supervision at the time of the arrest. Id. § 3142(g)(3).

      Even if the Court determines under § 3142(c) that an unsecured bond is not

sufficient, the Court “shall order” release subject to “the least restrictive further

conditions” that will “reasonably assure” the defendant’s appearance in court and

the safety of the community. § 3142(c)(1) (emphasis added). Under this statutory

scheme, “it is only a ‘limited group of offenders’ who should be detained pending


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trial.” United States v. Shakur, 817 F.2d 189, 195 (2d Cir. 1987) (quoting S. Rep.

No. 98-225, at 7 (1984), as reprinted in 1984 U.S.C.C.A.N. 3182, 3189); see also

United States v. Byrd, 969 F.2d 106, 110 (5th Cir. 1992) (“There can be no doubt

that this Act clearly favors non-detention.”).

         When a party appeals a magistrate judge’s determination regarding pretrial

detention pursuant to 18 U.S.C. § 3145(b), the district court gives fresh review to

the weighing of these factors. United States v. Jimenez-Lopez, No. 18-MJ-30320,

2018 WL 2979692, at *2 (E.D. Mich. June 14, 2018).


                                    ARGUMENT

         Mr. Mays presents sufficient evidence in support of his bond modification

request. Additionally, there is little to no evidence that he is a risk of non-appearance

in court or clear and convincing evidence that he is a danger to the community such

that the overly restrictive bond conditions placed on him are necessary. To the extent

the court has concerns about his future appearance or the safety of the community,

the conditions recommended by Pretrial Services and the defense can mitigate those

risks.

         A.    Mr. Mays’ Personal History and Characteristics

         Mr. Mays is currently working for CB Asphalt Company as a dump truck

driver. He works full time, forty hours a week. Prior to working for CB Asphalt, he

was employed at Accurate Expediting as a delivery driver. He delivered packages

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and bulk goods. The deliveries were made to various companies and individuals,

including banks and other secured locations. Mr. Mays has either been employed or

enrolled in vocational training while on bond.

      Mr. Mays is hardworking and has strong roots in Detroit. Although Mr. Mays

has a criminal history, he hasn’t been sentenced to a custodial sentence since 2004.

He completed parole in 2009, without any violations. He has no mental health

history or history of drug addiction, excessive alcohol use or gambling. He’s lived

at his current address for the past six years with someone he has been involved with

for 15 years.

       Pretrial Services expresses minimal concern about Mr. Mays, his conduct

over the past eight months. His law abiding and productive conduct over the past

eight months clearly demonstrate that he has no difficulty conforming to the rules of

civil society, even under very restrictive conditions of supervision.

      B.        Nature and Circumstances of the Offense

      This Court must presume Mr. Mays is innocent. While the nature of the

allegations is serious, the allegations are all nonviolent. The allegations against Mr.

Mays are that he possessed ammunition. He was arrested without incident back in

April of this year. After he was indicted, he voluntarily appeared for his arraignment.




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      The potential penalty in this case is not a legitimate basis for finding a serious

risk of flight. There is no evidence Congress intended courts to de facto detain any

client facing a prison sentence. Indeed, many federal defendants face long

sentences—being a defendant in a run-of-the-mill federal case cannot possibly be an

“extreme and unusual circumstance.” Even at the detention hearing, where the

standard for finding risk of flight is lower, Congress did not authorize courts to

evaluate potential penalty when considering risk of flight. See § 3142(g) (listing as

relevant factors the nature and seriousness of the charge, (2) the weight of the

evidence against the defendant, and (3) the history and characteristics of the

defendant); Friedman, 837 F.2d at 50 (in “cases concerning risk of flight, we have

required more than evidence of the commission of a serious crime and the fact of a

potentially long sentence to support finding risk of flight”) (emphasis added).

      C.     The Weight of the Evidence of Dangerousness

      This factor goes to the weight of the evidence of dangerousness, not the weight

of the evidence of the defendant’s guilt. United States v. Stone, 608 F.3d 939, 948

(6th Cir. 2010). Mr. Mays has proven that he is not a danger to the community. He

is motivated to continue to his law-abiding conduct. Mr. Mays has never been

convicted of an offense where he is accused of using violence against another person.

The government may argue that he is potentially dangerous due to unsubstantiated

allegations related to the initial investigation of Mr. Mays. These charges have never


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been born out. Nor were they, when the opportunity presented itself in state court.

These unsubstantiated allegations are essentially the reasons for the restrictive

conditions being imposed.      Even if the Court has concerns about Mr. Mays’

“dangerousness”, they are ameliorated by the prolonged period of law-abiding

conduct Mr. Mays has engaged in over the past several months.

      Arrests and dismissed charges are even less probative evidence of Mr. Mays’

danger to the community or risk of flight. “[A]n arrest, without more, is quite

consistent with innocence,” and therefore insufficient to establish any facts by a

preponderance of the evidence. United States v. Johnson, 648 F.3d 273, 277–78 (5th

Cir. 2011). This Court therefore should not consider Mr. Mays’ arrest records either

when deciding which conditions to impose.

      Releasing Mr. Mays on an unsecured bond without unnecessary restrictions

such as electronic monitoring and home confinement is warranted based on how

responsibly he has conducted himself over the past eight months. He has shown that

less restrictive conditions will reasonably assure his appearance and the safety of the

community. This is born out by Pretrial Services recommending that the Court

modify the conditions of his bond.




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                               CONCLUSION

     This Court should modify the conditions of Mr. Mays’ release and terminate

the conditions requiring home confinement and GPS monitoring.

                                    Respectfully submitted,

                                    FEDERAL COMMUNITY DEFENDER
                                    EASTERN DISTRICT OF MICHIGAN


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Dated: April 29, 2024




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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                              CR. NO. 23-20521
                   Plaintiff,
v.                                            HON. MARK A. GOLDSMITH

HARRIS JAMES MAYS,

                   Defendant.
                                    /

                            CERTIFICATE SERVICE

      I hereby certify that on April 29, 2024, I electronically filed the foregoing
Motion with the Clerk of the Court using the ECF system which will send notification
of such filing to the following:

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                                        Respectfully submitted,

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